3 Case 2:04-Cr-20464-BBD Document 85 Filed 07/20/05 Page 1 of 3 Page|D 89

IN THE UNITED STATES DISTRICT COURT = 'Fil£TD ES(W..._£.____E`J'\“"D'C'
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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UNITED sTATEs oF AMERICA, WD GF mr .MEMS
Plaintiff,

Criminal No. 04-20471 D
v.

Crimina] No. 04-20464 D \/

 

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cHARLoTTE sHANELL CRAWFORD, § § 3
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Defendant. .__.; a §
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COMES NOW the Defendant, Charlotte Shanell Crawford, by and though
counsel, and moves this Court to continue the Change of Plea Hearings in the above-

referenced matters currently set for July 25, 2005, until August l, 2005 at 11:00 a.m.

Plaintii‘t’s counsel Will be out of the city on July 25, 2005 and unable to attend the
hearings set on that date.

Defendant’s counsel has spoken with Assistant United States Attomey Timothy

R. DiScenza and he is agreeable to continuing these hearing until August l, 2005 at 1 1 :00
a.m.

WHEREFORE, Defendant moves that the Change of Plea hearings in the above-

referenced cases be continued until August l, 2005 at 11:00 a.m.

     
   

Respectfully submitted,
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/ oward B. 13

 

80 oe, Suite G-l
BERN¥CE BoulE DONALD emphis, Termessee 38103
U-S- olSTR'cT 'WDGE Attorney for Defendant

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing Motion has been
served on Timothy R. DiScenza, Assistant United States Attorney, 167 North Main, Suite
800, Memphis, Tennessee 38103, this the f 51 day ofJuly 2005.

/j/”

Ho v d anis

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Notice of Distribution

This notice confirms a copy of the document docketed as number 85 in
case 2:04-CR-20464 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

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Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable Bernice Donald
US DISTRICT COURT

